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                                       IN THE
                            UNITES STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                            *      Case No.
                                                            Original Case No. 1:19CR00559
                      Plaintiff - Appellee,          *

vs.                                                  *

DEEPAK RAHEJA,                                       *

                      Defendant - Appellant          *


                                    NOTICE OF APPEAL

       Notice is hereby given that the Defendant, Deepak Raheja, in the above named case,

hereby appeals to the United States Court of Appeals for the Sixth Circuit from the plea and final

judgment of conviction and sentencing entered in this action on October 31, 2022 and February

3, 2023.



                                                     Respectfully submitted,

                                                     /s/ Karen Oakley
                                                     _________________________
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                                 CERTIFICATE OF SERVICE

       Counsel hereby certifies that a copy of the forgoing Notice of Appeal was served via the

Courts ECF system to all parties of record. Counsel is unaware of any party that requires

notification by mail.

                                                    /s/ Karen Oakley
                                                    __________________________
                                                    Karen Oakley (0072251)
                                                    Attorney for Deepak Raheja
